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 5

 6 Attorneys for Plaintiff
   United States of America
 7

 8                                   IN THE UNITED STATES DISTRICT COURT

 9                                     EASTERN DISTRICT OF CALIFORNIA

10

11   UNITED STATES OF AMERICA,                          CASE NO. 1:12-CR-292 AWI

12                                    Plaintiff,
                                                        STIPULATION TO CONTINUE CHANGE OF
13                              v.                      PLEA AND ORDER

14   MAYO MARTINEZ MURRILLO

15                                    Defendant.

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17           The parties to this action agree that the matter should be calendared before the Hon. Anthony W.
18 Ishii on May 13, 2013 at 10:00 a.m. for a change of plea. For this defendant only, this change of plea

19 will supercede the previously scheduled status conference before the Hon. Barbara A. McAuliffe on

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      Stipulation to Continue                            1
      Change of Plea
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                                Case 1:12-cr-00292-DAD Document 48 Filed 05/08/13 Page 2 of 2


 1 May 13, 2013 at 1:00 p.m. For purposes of the Speedy Trial Act, time is already excluded through May

 2 13, 2013.

 3

 4 Dated: May 6, 2013                                               BENJAMIN B. WAGNER
                                                                    United States Attorney
 5

 6                                                                  /s/ Kevin P. Rooney
                                                                    KEVIN P. ROONEY
 7                                                                  Assistant United States Attorney
 8

 9 Dated: May 7, 2013                                                /s/ Katherine Hart
                                                                     KATHERINE HART
10                                                                   Attorney for Defendant, MAYO MARTINEZ
                                                                     MURILLO
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     IT IS SO ORDERED.
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     Dated: May 7, 2013
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     DEAC_Signature-END:
                                                          SENIOR DISTRICT JUDGE
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                      Stipulation to Continue                   2
                      Change of Plea
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